 Case: 1:21-cv-04865 Document #: 88 Filed: 01/26/22 Page 1 of 1 PageID #:5908

                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

Rimowa GmbH
                                                       Plaintiff,
v.                                                                  Case No.:
                                                                    1:21−cv−04865
                                                                    Honorable John Robert
                                                                    Blakey
The Partnerships and Unincorporated Associations
Identified on Schedule "A", et al.
                                                       Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, January 26, 2022:


        MINUTE entry before the Honorable John Robert Blakey: On 11/17/21,
Defendants AnShuo Phone Accessories Store, Shop5593370 Store, and Xiao Zhiqun
moved to dismiss this case for lack of personal jurisdiction, [57]. The Court set an
extended briefing schedule to allow Plaintiff to conduct limited jurisdictional discovery,
see [65]. Defendant resisted such discovery, see [66], [79], and has refused to respond to
Plaintiff's requests for same. On 1/5/22, Plaintiff moved for sanctions, see [84]. The Court
ordered Defendants to respond to the sanctions motion by 1/19/22, and, once again,
Defendants failed to comply. Accordingly, the Court grants Plaintiff's motion for
sanctions [84] and denies Defendants' motion to dismiss as a sanction for failing to
comply with Court orders. The Court declines to award fees. The Court directs the Clerk
to terminate [58] as a pending motion, as the Court granted the motion on 11/22/21, see
[63]. Plaintiff shall file an updated status report by 2/10/22 proposing next steps to bring
this case to a close. Mailed notice(gel, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
